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                           No. 22-50316

            United States Court of Appeals
                     FOR THE NINTH CIRCUIT


                  UNITED STATES OF AMERICA,
                          PLAINTIFF-APPELLEE

                               v.
                           JOHN FENCL,
                        DEFENDANT-APPELLANT



       On Appeal from the United States District Court
           for the Southern District of California
                      21CR3101-JLS


              RESPONSE OF THE UNITED STATES TO
            APPELLANT’S MEMORANDUM IN SUPPORT
                     OF HIS FRAP 9(A) APPEAL



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                    UNITED STATES OF AMERICA,
                            PLAINTIFF-APPELLEE

                                 v.
                             JOHN FENCL,
                          DEFENDANT-APPELLANT



         On Appeal from the United States District Court
             for the Southern District of California
                        21CR3101-JLS


                 JURISDICTION AND BAIL STATUS

  The district court has jurisdiction in John Fencl’s case under 18

U.S.C. § 3231 since he is charged with offenses against the United

States. Appellant’s Exhibit (Ex.) G. On December 7, 2022, the court

denied Fencl’s appeal from the magistrate judge and affirmed his

pretrial-release conditions. Ex.A. That decision was immediately

appealable as a final order. See Fed. R. App. P. 9(a); Stack v. Boyle,

342 U.S. 1, 4 (1951). Fencl timely appealed on December 21, 2022.

Ex.I; Fed. R. App. P. 4(b)(1)(A)(i). This Court has jurisdiction under

28 U.S.C. § 1291. Fencl is in not custody and is set for a status hear-

ing on January 20, 2023. Clerk’s Record (R) 76.




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                        QUESTION PRESENTED

  Does the pretrial-release condition barring gun possession when

that is the least restrictive way to ensure community safety violate

the Second Amendment facially or as applied to Fencl?
                               STATEMENT

  This case arose out of Fencl’s third gun-related arrest. Ex.A-6. In

September 2019, officers arrested Fencl for illegally possessing a

concealed gun without a license. Ex.A-1. He pled guilty to a misde-

meanor. Id. In April 2021, officers arrested Fencl for carrying a pri-

vately made “ghost gun,” but no charges resulted. R 1 at 3. During
the arrest, Fencl said he would be armed every time officers con-

tacted him. Id. Finally, in June 2021, officers arrested Fencl after

finding more than 110 guns at his house, including 10 “ghost guns,”
four silencers, three short-barreled rifles, and 21 other guns that

are illegal under state law. Ex.A-1−2. Officers also found thousands

of rounds of ammunition, including armor-piercing and incendiary

rounds, and a gas grenade. R 57-4, 57-6. Post-Miranda, Fencl said

he manufactured several of the guns, including a short-barreled ri-

fle, and indicated that he knew he was not supposed to possess

short-barreled rifles. R 1 at 3-4.




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    The government ultimately charged Fencl with illegally pos-

sessing three unlicensed short-barreled rifles and four unlicensed

silencers 26 U.S.C. § 5861(d). Ex.G. After a hearing, the magistrate

judge set bond subject to various conditions. Ex.H. One was a stat-

utory condition barring gun possession, which the magistrate judge

modified to also bar gun-part possession. Ex.H at 1; see 18 U.S.C.

§ 3142(c)(1)(B)(viii).

    In July 2022, Fencl—who still does not have a California gun

license, see Ex.B-9 (noting that he “wish[es]” to get one)—moved to

strike the gun condition so he could carry guns in public,1 citing the
Second Amendment and the Supreme Court’s recent decision in

New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct.

2111 (2022). Ex.E; Ex.F. The government opposed. R 69. After hear-
ing argument, the magistrate judge denied the motion in a written

order. Ex.D. The judge concluded that the Second Amendment ap-

plies to “law-abiding citizens.” Ex.D at 4 (quoting Bruen, 142 S. Ct.


1Fencl’s brief in this Court concedes explicitly for the first time that
he is barred from carrying guns in public by state laws that are not
at issue here. Appellant’s FRAP 9(a) Memorandum (Mem.) 11 &
n.1. Despite this independent restriction, he argued in the district
court that he wanted the gun condition of his release stricken so he
can carry guns “for his work travels,” which occur “at all times of
the day and night, with great frequency.” Ex.B-9; Ex.C-2; Ex.F-2 see
also Ex.D-1; Ex.F-2.


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at 2156). And since Fencl was “charged with a crime based on a

finding of probable cause,” he did not qualify. Id. Yet even if he did,

found the judge, historical analogues to the gun condition showed

that it was not an unconstitutional infringement on his right to bear

arms. Ex.E-5−6. The magistrate judge also cited United States v.

Salerno, 481 U.S. 739 (1987), which upheld pretrial detention based

on danger to the community—a greater restriction than release

with a gun condition—as support for the conclusion that the gun

condition was constitutional. Ex.E-4−5.

  Fencl appealed that order to the district court, and the govern-
ment responded. Ex.B; Ex.C; R 79. The court denied the motion in

a written order. Ex.A. Like the magistrate judge, the court found

that Fencl was not a law-abiding citizen covered by the Second
Amendment. Ex.A-3−4. It also found that historical analogues sup-

ported the law. Ex.A-4−6. As comparators, it cited surety laws re-

quiring those reasonably likely to breach the peace to post surety

bonds before carrying guns in public, legislatures’ historically broad

powers over bail and detention, and Salerno’s discussion of deten-

tion powers. Ex.A-3−6. The district court also confirmed that the
condition was properly imposed on Fencl based on his individual

circumstances. Ex.A-6.




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  This appeal follows. Ex.I.
                       SUMMARY OF ARGUMENT

  The district court did not violate the Constitution by imposing a

condition barring Fencl from possessing guns while on bond to en-

sure community safety. For one, precedent confirms that those un-

der indictment may be subjected to many liberty restrictions that

would otherwise be unconstitutional, including detention and vari-
ous pretrial-release conditions in appropriate circumstances. The

gun condition here falls well within those permissible restrictions.

Bruen did not upset that precedent or address rights that are nec-
essarily restricted during pretrial release or detention, so it does

not require a different conclusion.

  Historical tradition also supports that conclusion. Legislatures
have long possessed broad powers over bail and detention and have

long exercised those powers to detain people charged with serious

crimes. That history supports the lesser power of ordering release

with a gun condition to protect the community. And founding-era

laws barring gun possession by those deemed dangerous or untrust-

worthy likewise show that the condition here, which is tethered to

community safety, is constitutional. That and other history all sup-

port upholding the law here.




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     Striking down the gun condition would also have the perverse

effect of causing courts to deny bail when a gun condition might

have sufficed to safeguard the community, thus leaving more people

in prison while they await trial. For the reasons discussed, this

Court should uphold the condition and affirm.

                               ARGUMENT

A.     This Court reviews the constitutionality of the condition de
       novo and the district court’s factual findings for clear error.
     This Court reviews the constitutionality of pretrial-release con-

ditions de novo and the district court’s factual findings under the
“deferential, clearly erroneous standard.” United States v. Hir, 517

F.3d 1081, 1086 (9th Cir. 2008) (citation omitted). The Court may

affirm the district court’s decision on any ground supported by the
record. See Ctr. for Biological Diversity v. U.S. Fish & Wildlife

Serv., 450 F.3d 930, 941 (9th Cir. 2006); Newbery Corp. v. Fireman’s

Fund Ins. Co., 95 F.3d 1392, 1398 (9th Cir. 1996).

B.     This district court properly found that the pretrial-release
       condition is constitutional.
     The district court’s decision upholding the pretrial-release con-

dition is correct in light of Supreme Court precedent, the history of

bail and detention, and the history of laws denying guns to those

deemed dangerous or disruptive. This Court should affirm.




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      1.    Indictment can entail many restrictions, including a ban
            on gun possession in appropriate circumstances, that
            would otherwise violate constitutional rights.
   The district court correctly held that the law allowing a court to
order that the defendant “refrain from possessing a firearm” while

on pretrial release when that is the least restrictive way to ensure

community safety comports with the Second Amendment. 18 U.S.C.
§ 3142(c)(1)(B)(viii).

   A grand jury’s indictment charging a person with a crime has

important legal consequences. See Kaley v. United States, 571 U.S.
320, 328-29 (2014). While a defendant is presumed innocent until

proven guilty, see Bell v. Wolfish, 441 U.S. 520, 533 (1979), he may

still be arrested, see United States v. Watson, 423 U.S. 411, 417
(1976); searched incident to arrest, see United States v. Robinson,

414 U.S. 218, 236 (1973); strip-searched in jail, see Florence v. Bd.

of Chosen Freeholders, 566 U.S. 318, 322-23 (2012); and jailed pend-
ing arraignment, see Cnty. of Riverside v. McLaughlin, 500 U.S. 44,

52, 58 (1991). And the government can, in some instances, freeze a

defendant’s assets—even those needed to pay a lawyer. See Kaley,

571 U.S. at 326-27.

   Even after arraignment, a defendant may be denied bail pending

trial. The Bail Reform Act allows a court to detain a defendant if it

finds that no release conditions will reasonably assure community



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safety. See 18 U.S.C. § 3142(e)-(f). The Supreme Court has held that

this part of the Act “fully comports with constitutional require-

ments.” Salerno, 481 U.S. at 741. In reaching that conclusion, the

Court noted that it had “repeatedly held that the Government’s reg-

ulatory interest in community safety can, in appropriate circum-

stances, outweigh an individual’s liberty interest.” Salerno, 481

U.S. at 748-49. The Court noted the Act’s “extensive safeguards”

and “procedural protections” in concluding that the Act complies

with the Due Process and Excessive Bail Clauses. Id. at 752, 755.

  The same reasons that support the Bail Reform Act’s pretrial-
detention provision also support the imposition of judicially admin-

istered release conditions under the Act. See, e.g., United States v.

Scott, 450 F.3d 863, 874 (9th Cir. 2006) (reading Salerno as
“uph[olding] the constitutionality of [the] bail system” in the Bail

Reform Act and applying same framework to analysis of bail-condi-

tion validity). That makes sense. The greater power to take away

the “fundamental” and “strong interest in liberty” altogether pend-

ing trial based on danger to the community, Salerno, 481 U.S. at

750, necessarily implies the lesser power of granting release with
conditions reasonably necessary to prevent danger to the commu-

nity. Cf. Kaley, 571 U.S. at 330 (“‘[I]t would be odd to conclude that




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the Government may not restraint property’ on the showing often

sufficient to ‘restrain persons.” (citation omitted)).

   There is no reason to apply a different rule to a pretrial-release

gun condition. If an indictment for a crime and the interests in com-

munity safety can justify restrictions on Fourth, Fifth, and Sixth

Amendment rights and even outright detention pending trial, then

they can also justify the restriction of a defendant’s Second Amend-

ment rights as a temporary and judicially authorized condition of

pretrial release. See Bruen, 142 S. Ct. at 2130 (“Th[e] Second

Amendment standard accords with how we protect other constitu-
tional rights”); id. at 2156 (the Second Amendment is subject to the

same “body of rules” as “other Bill of Rights guarantees”).

   The statutory gun restriction is a carefully circumscribed re-
lease condition that complies with constitutional guarantees. The

condition may only be imposed if it is “the least restrictive” way to

“reasonably assure the appearance of the person as required and

the safety of any other person and the community.” 18 U.S.C. §

3142(c)(1)(B). Thus, just as the “Government’s regulatory interest

in community safety can . . . outweigh an individual’s liberty inter-
est” and justify pretrial detention, that same interest can justify




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temporarily disarming an indicted person whose release is other-

wise appropriate. Salerno, 481 U.S. at 748.

      2.    Bruen does not cast doubt on the constitutionality of pre-
            trial-release conditions under the Bail Reform Act.
  The Second Amendment reads: “A well-regulated Militia, being

necessary to the security of a free State, the right of the people to
keep and bear Arms, shall not be infringed.” U.S. Const., amend. II.

In District of Columbia v. Heller, the Supreme Court held “that the

Second Amendment conferred an individual right to keep and bear
arms” and that the District of Columbia’s “ban on handgun posses-

sion in the home” violated that right. 554 U.S. 570, 625, 635 (2008).

  In Bruen, the Court made Heller “more explicit.” 142 S. Ct. at
2131, 2134. It clarified “that when the Second Amendment’s plain

text covers an individual’s conduct, the Constitution presumptively

protects that conduct.” Id. at 2126. In that case, a regulation is valid

if the government shows “that the regulation is consistent with this

Nation’s historical tradition of firearm regulation.” Id. The Court

noted that circuit courts, while applying a similar test as a “first
step,” had also applied a “means-end scrutiny” “second step.” Id. at

2125-27. The Court deemed the second step “one step too many” and

rejected it. Id. at 2127. Applying the clarified test, the Court held
that the Second Amendment protects the “right to carry a handgun



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for self-defense outside the home” and that a law “condition[ing] is-

suance of a license to carry on a citizen’s showing of some additional

special need” violated that right. Id. at 2122.

  In reaching those conclusions, the Court “decide[d] nothing

about who may lawfully possess a firearm.” Id. at 2157 (Alito, J.,

concurring). Nor did it address the extent to which constitutional

rights may be restricted because of pretrial detention or as a condi-

tion of bail. See Ex.C-4 (Fencl agreeing that “Bruen did not address

this issue.”). Indeed, Bruen reaffirmed Heller’s observation that,

[l]ike most rights, the right secured by the Second Amendment is
not unlimited” and is “not a right to keep and carry any weapon

whatsoever in any manner whatsoever and for whatever purpose.”

Bruen, 142 S. Ct. at 2128 (quoting Heller, 554 U.S. at 626). And it
clarified that the Second Amendment is equal to other rights, but

never suggested that it received extra protections. See Bruen, 142

S. Ct. at 2130 (“Th[e] Second Amendment standard accords with

how we protect other constitutional rights.”).

  In sum, Bruen does not call into question Salerno’s conclusion

that the Bail Reform Act’s pretrial detention provision is constitu-
tional, which by close analogy confirms the validity of the Act’s pre-

trial-release conditions. See Scott, 450 F.3d at 874. This Court must




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follow “on point” Supreme Court decisions even if “subsequent de-

cisions cast strong doubt on” them. Musladin v. Lamarque, 555 F.3d

830, 837 (9th Cir. 2009); see Agostini v. Felton, 521 U.S. 203, 237

(1997). Here, Bruen casts no doubt on Salerno or other decisions

upholding significant restrictions on the liberty interests of those

charged with crimes. This Court can thus uphold the challenged

condition without proceeding further. Still, as explained below, the

historical analysis confirms the condition’s validity.

      3.    Historical analogues show that the pretrial-release gun
            condition is valid.
  Temporarily barring gun possession as a condition of pretrial re-

lease when that is the least restrictive way to protect the commu-
nity is consistent with historical tradition. That tradition includes:

(1) historical restrictions on indicted defendants, including pretrial

detention; (2) historical laws restricting the gun rights of groups

deemed dangerous or untrustworthy; and (3) historical surety laws

restricting the gun rights of people accused of posing a threat.

            a.     Pretrial Detention
  The historical record confirms that there was no “fundamental

right to bail” at the time of the founding and that legislatures pos-
sessed broad powers over bail and detention. United States v. Ed-

wards, 430 A.2d 1321, 1329 (D.C. 1981) (en banc); see also United



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States v. Stephens, 594 F.3d 1033, 1039 (8th Cir. 2010) (“Congress

may ban bail in entire classes of cases.”); United States v. Perry, 788

F.2d 100, 111 (3d Cir. 1986) (most “federal courts that have ad-

dressed the issue have held that there is no absolute right to bail”).

  In exercising their broad powers, legislatures have historically

made some offenses nonbailable or presumptively nonbailable. For

example, “[c]apital defendants have been excluded from bail since

colonial days, and there is some evidence that this exclusion was a

public-safety measure.” Sandra G. Mayson, Dangerous Defendants,

127 Yale L.J. 490, 502 (2018). The Judiciary Act of 1789—passed
two years before the Second Amendment’s ratification—was gener-

ally consistent with that practice. It provided that a defendant ac-

cused of a federal crime could “be arrested, and imprisoned or
bailed, as the case may be, for trial.” Act of Sept. 24, 1789, ch. XX,

1 Stat. 73, § 33 (1789). Bail was allowed “except where the punish-

ment may be death, in which cases it shall not be admitted but by

[a court or judge], who shall exercise their discretion therein, re-

garding the nature and circumstances of the offence, and of the ev-

idence, and the usages of law.” Id.
  At the founding, detention swept broadly because many crimes

were punishable by death. Capital punishment for felonies was




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“ubiquit[ous]” in the late eighteenth century and was “the standard

penalty for all serious crimes.” See Baze v. Rees, 553 U.S. 35, 94

(2008) (Thomas, J., concurring in the judgment) (citing Stuart Ban-

ner, The Death Penalty: An American History 23 (2002)). Capital

crimes “included nonviolent offenses that we would recognize as fel-

onies today, such as counterfeiting currency, embezzlement, and

desertion from the army.” Medina v. Whitaker, 913 F.3d 152, 158

(D.C. Cir. 2019).

   As one court summarized, “history recognized detention as a re-

striction that could be imposed upon a person who was accused, but
not convicted[,] of a crime. Inherent in this severe restriction of lib-

erty is the temporary abridgement of numerous core constitutional

rights[,] including . . . the right to bear arms.” United States v. Slye,
No. 22MJ144, 2022 WL 9728732, at *2 (W.D. Pa. Oct. 6, 2022) (un-

published). It would thus “be illogical to conclude that the Court has

the authority to set conditions temporarily depriving an accused of

all of [those] constitutional protections by ordering his detention

but lacks the authority to impose far less severe restrictions, such

as ordering his release on bond with a firearms restriction.” Id.
Stated differently, it is difficult to conclude that the public, in 1791,

would have understood someone facing outright pretrial detention




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to be within the scope of those entitled to possess arms. Cf. Folajtar

v. Att’y Gen., 980 F.3d 897, 905 (3d Cir. 2020) (“it is difficult to con-

clude that the public, in 1791, would have understood someone fac-

ing death and estate forfeiture” (i.e., a felon) “to be within the scope

of those entitled to possess arms” (quoting Medina, 913 F.3d at 158).

   In sum, § 3142(c)(1)(B)(viii)’s gun-restriction condition imposes

a far lesser burden on an indicted defendant than does pretrial de-

tention. Pretrial detention strips a defendant of all Second Amend-

ment rights and severely restricts many other “core constitutional

rights,” like freedom of speech, freedom of association, and reason-
able privacy expectations. See Slye, 2022 WL 9728732, at *2 & n.4.

In contrast, § 3142(c)(1)(B)(viii) imposes a narrower prohibition—

temporarily disarming a person subject to release—that squares
with the historical tradition of affording legislatures broad powers

of bail and detention and of detaining defendants charged with se-

rious crimes. The power to detain necessarily encompasses the

power to impose that lesser liberty restriction. Cf. Kaley, 571 U.S.

at 330 (“it would be odd to conclude” that the government cannot

seize forfeitable assets on a grand jury’s probable-cause finding
when that showing is often sufficient to “restrain persons” (citation

omitted)); Stephens, 594 F.3d at 1039 (Congress’s power to ban bail




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in some cases implies the power to impose “the Adam Walsh Act’s

much less restrictive mandatory release conditions” requiring a

curfew and electronic monitoring).

            b.     Laws Disarming the Dangerous or Untrustworthy
  Historical laws barring guns to people or groups deemed danger-

ous or untrustworthy, as well as laws making it an offense to mis-

use guns, support the constitutionality of the bail condition.

  In England, officers of the Crown could “seize all arms in the

custody or possession of any person” whom they “judge[d] danger-
ous to the Peace of the Kingdom.” Militia Act of 1662, 13 & 14 Car.

2, c.3, § 13 (1662). England also disarmed “entire group[s]” for “their

perceived disrespect for and disobedience to the Crown and English
law.” Range v. Att’y Gen., 53 F.4th 262, 275 (3d Cir. 2022), vacated

upon grant of rehearing en banc, 2023 WL 118469 (Jan. 6, 2023).

Thus, “by the time of American independence, England had estab-
lished a well-practiced tradition of disarming dangerous persons—

violent persons and disaffected persons perceived as threatening to

the crown.” Joseph G.S. Greenlee, The Historical Justification for
Prohibiting Dangerous Persons from Possessing Firearms, 20 Wyo.

L. Rev. 249, 261 (2020); see id. at 259-61 (detailing history).




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  States in the period around the American Revolution took simi-

lar measures. Some states barred guns for those “[r]efusing to

swear an oath, defaming acts of Congress, or failing to defend the

colonies.” Folajtar, 980 F.3d at 908 & n.11; see also Medina, 913

F.3d at 159 (discussing similar laws); Kanter v. Barr, 919 F.3d 437,

454-58 (7th Cir. 2019) (Barrett, J., dissenting) (same). In fact, at

least six states disarmed the “disaffected” who refused to take an

oath of allegiance to those states. See 5 The Acts and Resolves, Pub-

lic and Private, of the Province of the Massachusetts Bay 479-84

(1886) (1776 law); 7 Records of the Colony of Rhode Island and Prov-
idence Plantations, in New England 567 (1776 law); 1 The Public

Acts of the General Assembly of North Carolina 231 (1804) (1777

law); 9 Statutes at Large, Being A Collection of All the Laws of Vir-
ginia 281-82 (1821) (1777 law); Rutgers, New Jersey Session Laws

Online, Acts of the General Assembly of the State of New-Jersey 90

(1777 law); 9 Statutes at Large of Pennsylvania 348 (1779 law).

  Aside from laws disarming groups, laws also made it an offense

to use guns to terrify the public. In England, “the act of ‘go[ing]

armed to terrify the King’s subjects’ was ‘a great offence at the com-
mon law,’” so long as it was committed with “evil intent or malice.”

Bruen, 142 S. Ct. at 2141 (quoting Sir John Knight’s Case, 87 Eng.




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Rep. 75, 76 (K.B. 1686)). Similarly, in America, the colonies (and

later the states) enacted laws that “prohibit[ed] bearing arms in a

way that spreads ‘fear’ or ‘terror’ among the people.” Bruen, 142 S.

Ct. at 2145. As Bruen observed, such statutes “all but codified the

existing common law in this regard.” Id. at 2144 n.14 (citing George

Webb, The Office and Authority of a Justice of Peace 92 (1736)).

  Those provisions show that legislatures had the authority to re-

strict gun possession by individuals or groups deemed to “act coun-

ter to society’s welfare,” Folajtar, 980 F.3d at 909, or who fail to

comply with “legal norms,” Range, 53 F.4th at 278. The law here is
falls well within that historical tradition because a person may be

subjected to the pretrial-release gun condition only after a court

finds: (1) probable cause to believe that the defendant committed a
crime and (2) that the condition is “the least restrictive” way to as-

sure his appearance and “the safety of any other person or the com-

munity,” 18 U.S.C. § 3142(c)(1)(B).

                   c.    Surety Laws
  Colonial surety laws also support the gun condition. At common
law, the surety system allowed any person with “just cause to fear”

another person to “demand surety of the peace.” 4 William Black-

stone, Commentaries on the Laws of England 252 (1769).




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  In America, two colonies required those who went “armed offen-

sively” to obtain sureties and required the offending party to forfeit

his weapons. 1 Acts and Resolves, Public and Private, of the Prov-

ince of the Massachusetts Bay, 52-53 (1869) (1692 statute); Acts

and Laws of His Majesty’s Province of New-Hampshire: In New-

England; with Sundry Acts of Parliament 17 (1771) (1701 statute).

Four other colonies or states also codified the common-law surety

system before 1791. See 2 Statutes at Large of Pennsylvania from

1682 to 1801, pg. 23 (1896) (1700 statute); 1 Laws of the State of

Delaware from the Fourteenth Day of October, One Thousand
Seven Hundred, to the Eighteenth Day of August, One Thousand

Seven Hundred and Ninety-Seven 52 (1797) (1700 statute); Acts

and Laws of His Majesties Colony of Connecticut in New-England
91 (1901) (1702 statute); 13 Statutes at Large, Being a Collection of

All the Laws of Virginia, from the first Session of the Legislature,

in the Year 1619, pg. 41 (1823) (1789 statute). And Maryland’s 1776

Declaration of Rights assumed the existence of the common-law

surety system in its section on oaths. 1 General Public Statutory

Law and Public Local Law of the State of Maryland, from the Year
1692 to 1839 Inclusive: With Annotations Thereto, and a Copious

Index, pg. xxx (1840).




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  Thus, in 1829, before the passage of the surety statutes discussed

in Bruen, see 142 S. Ct. at 2148, William Rawle explained that “even

the carrying of arms abroad by a single individual, attended with

circumstances giving just reason to fear that he purposes to make

an unlawful use of them, would be sufficient cause to require him

to give surety of the peace” and that “[i]f he refused he would be

liable to imprisonment.” William Rawle, A View of the Constitution

of the United States of America 126 (2d ed. 1829).

  In Bruen, the Court deemed later, 19th-century surety laws in-

sufficiently analogous to the New York law at issue because the
surety “laws were not bans on public carry, and they typically tar-

geted only those threatening to do harm.” 142 S. Ct. at 2148. The

law here bears more similarities to surety laws, as it allows for a
gun restriction only after (1) a grand jury finds probable cause that

a crime was committed and (2) a court determines that the condi-

tion is “the least restrictive” way to assure community safety, 18

U.S.C. § 3142(c)(1)(B). And like surety laws, the gun condition re-

stricts rights only temporarily. Courts have thus held that surety

laws are similar enough to support the bail condition’s constitution-
ality. See Ex.D-5−6; United States v. Perez-Garcia, --- F.Supp.3d ---

-, 2022 WL 4351967, at *1 (S.D. Cal. 2022), aff’d 2022 WL 17477918




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(S.D. Cal. Dec. 6, 2022) (unpublished); United States v. Kays, ---

F.Supp.3d ----, 2022 WL 3718519, *4-5 (W.D. Okla. 2022); but see

United States v. Stambaugh, No. 22CR218-PRW, 2022 WL

16936043, at *3-6 (W.D. Okla. Nov. 14, 2022) (unpublished) (finding

different law barring gun possession insufficiently similar to surety

laws since surety laws did not bar gun possession); United States v.

Quiroz, No. 22CR104-DC, 2022 WL 4352482, *7 (W.D. Tex. Sept.

19, 2022) (unpublished) (same).

      4.    The Second Amendment applies to law-abiding citizens.
  The court here also upheld the pretrial gun condition on the

grounds that those under felony indictment are not protected by the

Second Amendment. Heller indicated that the Second Amendment
protects “law-abiding citizens.” 554 U.S. at 625, 635; see also id. at

644 (Stevens, J., dissenting) (“the Court limits the protected class

to ‘law-abiding, responsible citizens’”). Bruen did the same. Indeed,

it used the term “law-abiding” 14 times. 142 S. Ct. at 2122, 2125,

2131, 2133-34, 2135 n.8, 2138 & n.9, 2150, 2156.

  And Bruen did not call into question the “shall-issue” licensing
regimes in 43 states, which impose “narrow, objective, and definite

standards” meant to ensure “that those bearing arms in the juris-

diction are, in fact, law-abiding, responsible citizens.” Id. at 2138




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n.9. Many of those states deny firearm-carry licenses to persons un-

der a felony indictment. See, e.g., Ariz. Rev. Stat. § 13-3112(E)(3);

Ky. Rev. Stat. § 237.110(4)(a); La. Stat. § 40:1379.3(C)(10); Tenn.

Code § 39-17-1351(c)(7). Yet under Fencl’s interpretation of Bruen,

those shall-issue licensing schemes that Bruen endorsed would be

unconstitutional. Bruen does not support that view.

      5.    Fencl offers no convincing reason to reverse.
  Fencl discusses the surety law and law-abiding-citizen ration-

ales at length. Mem. 12-18, 27-32. He addresses Salerno and the
history of bail and detention by arguing that barring guns during

detention is too dissimilar to a pretrial gun condition to support its

constitutionality. Mem. 18-25. He does not address laws barring
guns to those deemed dangerous or disruptive.

  Fencl’s arguments offer no reason not to apply Salerno here. Sa-

lerno affirmed the constitutionality of detention based on danger to

the community. See 481 U.S. at 741. As noted, this Court has ap-

plied Salerno to bail conditions without suggesting that a different

rule applies. See Scott, 450 F.3d at 874. And Bruen did not purport
to upset that system or even address bail and detention. See supra




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§ (A)(2). Thus, this Court should apply Salerno and leave to the Su-

preme Court the prerogative of limiting that precedent in the con-

text of guns if it deems doing so necessary.

  As for the history, Fencl appears not to contest that legislatures

have long possessed broad powers over bail and detention. He ar-

gues only that the powers they exercised are too dissimilar to the

law here. See Mem. 20. But to support a gun law, the government

must “identify a well-established and representative historical an-

alogue, not a historical twin.” Bruen, 142 S. Ct. at 2133. So even if

a modern-day regulation is not a dead ringer for historical precur-
sors, it still may be analogous enough to pass constitutional muster”

if it “impose[s] a comparable burden” that “is comparably justified.”

Id. That is, while “analogical reasoning under the Second Amend-
ment” is not “a regulatory blank check,” it is not “a regulatory

straightjacket” either. Id. Here, history showing that legislatures

have long possessed and exercised power that is not just compara-

ble to but far greater than the burden imposed by the bail law is

“analogous enough” to support its constitutionality. Id.

  Fencl and several amici also cite substantive-due-process cases
about the liberty interests of those awaiting trial. Mem. 22-25. But




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at best, those cases suggest a limitation on historical bail and de-

tention powers (or, implicitly, a narrower reading of that history)

by indicating that people awaiting trial possess a liberty interest

that cannot be restricted absent individualized (or in some circum-

stances legislative) findings relating to flight risk, danger to the

community, or another compelling government interest. See, e.g.,

Scott, 450 F.3d at 872 n.12 (noting that bail condition “may well be

justified based on a legislative finding . . . or an individualized find-

ing” relating to government interest); id. at 874 (discussing Salerno

and noting that conditions meeting requirements in Bail Reform
Act would be valid). But here, Fencl is attacking a law that does

require findings that justify restricting his liberty interests. So the

cases he cites do not advance his challenge here.
     In short, Fencl has not addressed the history of gun restrictions

on those deemed dangerous or disruptive, and his responses to Sa-

lerno and the history of bail and detention offer no convincing rea-

son to set aside that precedent or history. The Court should thus

affirm the gun condition based on that authority.

C.     The relevant factors support applying the gun condition here.
     Fencl argues that judges in the Southern District of California

presumptively apply the gun condition. Mem. 1, 18. But how judges




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apply the condition in other cases is not at issue. See Johns v. Cnty.

of San Diego, 114 F.3d 874, 876 (9th Cir. 1997) (“constitutional

claims are personal and cannot be asserted vicariously”). Here,

Fencl does not dispute that the district court found that the condi-

tion was proper based on his individual circumstances here. Ex.A-

6. To the extent he suggests that the court erred in concluding as

much because he would not be a danger to the community if allowed

to possess guns, that is an argument for striking the condition but

not for declaring it unconstitutional. Still, the district court did not

err based on the relevant factors. See 18 U.S.C. § 3142(g).
   First, the crime involves illegal possession of a gun, Ex.G, and

the evidence against Fencl is strong. Officers found the short-bar-

reled rifles and silencers in Fencl’s house alongside many other
guns, and Fencl said he manufactured a short-barreled rifle (and

other guns) and knew he wasn’t supposed to possess one.

   Second, Fencl’s history and characteristics, and other factors,

suggest a danger to the community. Notably, Fencl: (1) possessed

110 guns, including 10 ghost guns, four silencers, three short-bar-

reled rifles, and 21 other guns that were illegal under state law; (2)
possessed thousands of rounds of ammunition, including armor-

piercing rounds, incendiary rounds, and a gas grenade; (3) has three




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gun-related arrests, including the one in this case, and one convic-

tion for carrying a loaded gun in a public place; and (4) has said that

he builds guns and will always be armed. And perhaps most im-

portantly, Fencl says he wants to carry a gun since he “travel[s] into

less-populated areas, at all times of the day and night, with great

frequency.” Ex.C-2; see supra n.1. Yet California law would bar him

from carrying a gun on those trips absent a license. See Peruta v.

Cnty. of San Diego, 824 F.3d 919, 925 (9th Cir. 2016) (en banc) (dis-

cussing California law). And Fencl concedes that he does not have

a California license. Mem. 11 & n.1; Ex.B-9 (noting that he
“wish[es]” to get one). So, in essence, Fencl wants to break the law

by continuing to illegally carry guns.

  Those factors show a serious danger that Fencl will continue to
build and possess illegal guns, continue to illegally carry loaded

guns in public places, and otherwise continue to illegally use or pos-

sess guns. That is enough to show a danger to the community. See,

United States v. Provenzano, 605 F.2d 85, 95 (3d Cir. 1979) (“[A]

defendant’s propensity to commit crime generally, even if the re-

sulting harm would be not solely physical, may constitute a suffi-
cient risk of danger to come within the contemplation of [the Bail

Reform Act].”); cf. United States v. Harris, No. 16CR851-VSB, 2020




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WL 4699044, at *5 (S.D.N.Y. Aug. 12, 2020) (unpublished) (detain-

ing defendant based on gun possession at time of arrest); United

States v. Velez-Ramos, No. 18CR767-PAD, 2019 WL 1771614, at *4

(D.P.R. Apr. 22, 2019) (unpublished) (releasing defendant who pos-

sessed gun at time of arrest but imposing bail condition barring gun

possession). The court thus rightly imposed the condition here.

                              CONCLUSION

  The Court should affirm the district court’s decision upholding

Fencl’s pretrial-release conditions.
  Respectfully submitted,

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                                      JANUARY 13, 2023.




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                   CERTIFICATE OF COMPLIANCE

      1.   This response complies with the length limitation of
Ninth Circuit Rules 27-1(1)(d) and 32-3(2) because it contains 5,537
words, excluding the portions exempted by Federal Rule of Appel-
late Procedure 32(f).

      2.   This response complies with the typeface requirements
of Federal Rule of Appellate Procedure 32(a)(5) and the type style
requirements of Federal Rule of Appellate Procedure 32(a)(6) be-
cause it has been prepared in a proportionally spaced typeface, 14-
point Century Schoolbook, using Microsoft Word 2020.
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                                            JANUARY 13, 2023.




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